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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF VERMONT

 GARRET SITTS, et al.,

       Plaintiffs,

 v.                                        Civil Action No. 2:16-cv-00287-cr

 DAIRY FARMERS OF AMERICA, INC. and
 DAIRY MARKETING SERVICES, LLC,

       Defendants.


 DEFENDANTS DAIRY FARMERS OF AMERICA, INC. AND DAIRY MARKETING
  SERVICES, LLC’S MOTION IN LIMINE NO. 1: TO PRECLUDE EVIDENCE AND
ARGUMENT BASED ON INADMISSIBLE HEARSAY TESTIMONY FROM GARRET
                    SITTS AND WILLIAM SWALLOW
                AND MEMORANDUM OF LAW IN SUPPORT

REDACTED VERSION FILED PUBLICLY PURSUANT TO PROTECTIVE ORDER
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        Pursuant to Federal Rules of Evidence 802, 805, and 403, Dairy Farmers of America, Inc.

(“DFA”) and Dairy Marketing Services, LLC (“DMS”) (collectively, “DFA”) respectfully submit

this motion in limine to exclude the testimony of Garret Sitts and William Swallow, set forth below.

        Plaintiffs have repeatedly alleged that DFA threatened and/or retaliated against farmers

who challenged DFA during the relevant years of this case. But there is not a shred of competent

evidence to support this claim. Instead, plaintiffs intend to rely exclusively at trial on second and

third-hand gossip regarding supposed “threats” that DFA allegedly made over the last two decades.

Lead plaintiff Garret Sitts, for example, intends to testify that he heard from two of his neighbors

that DFA employees made a “                             ” at some point between 2009 and 2017.1 And

plaintiffs intend to call a third-party livestock nutritionist, William Swallow, to testify to an alleged

conversation he overheard at a truck stop in Milton, Pennsylvania in 2009, between three unknown

individuals who allegedly made threatening comments about unidentified dairy farmers. 2




1
        Ex. 1, G. Sitts Dep. 152:20-25, Aug. 9, 2018 (“Sitts Dep.”). Exhibits referenced herein
refer to the concurrently filed May 20, 2020 Declaration of Alfred C. Pfeiffer Jr.
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        DFA reserves the right to file additional motions in limine after this date, given that
plaintiffs have not yet identified the plaintiffs who will participate in the first trial pursuant to this
Court’s May 1, 2020 Order, ECF No. 191.
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       Even putting aside that                                                    , and that Ms. Hagar

denied it under oath, none of this hearsay-within-hearsay is admissible. When, like here, testimony

involves a chain of declarants—and thus multiple out-of-court statements—the testimony must

qualify for an exception to the hearsay rule at each level of the hearsay chain before the evidence

as a whole, can be admitted. Fed. R. Evid. 805; see United States v. Cummings, 858 F.3d 763, 774

(2d Cir. 2017) (finding that the district court abused its discretion in admitting hearsay-within-

hearsay testimony about an alleged death threat because the “second statement is offered for its

truth and does not satisfy any of the enumerated hearsay exceptions”); Plaka v. Bd. of Immigration

Appeals, 139 F. App’x 334, 336 (2d Cir. 2005) (petitioner’s testimony “that his father had been

threatened by members of the Socialist Party, and that they told his father that they would harm

Plaka and his brother” was discounted as “hearsay upon hearsay”).

       Plaintiffs cannot make this showing, and it is fatal to their ability to introduce this testimony

at trial. Courts across the country routinely exclude testimony involving a chain of out-of-court

statements where, like here, the “outer layer” of the hearsay chain fails to qualify for an exception.

See Glaze v. Byrd, 721 F.3d 528, 533 (8th Cir. 2013) (excluding a hearsay chain of alleged threats

as “hearsay within hearsay” because “there is no exception allowing admission of Boyce's

statement about what Childs told him”); Castronovo v. Cty. of Winnebago, No. 11 C 50046, 2012

WL 13042942, at *5 (N.D. Ill. Nov. 5, 2012) (excluding testimony where the “outer layer” of a

hearsay chain was offered “for the truth of the matter—that Fiduccia told the officer to threaten

Castronovo”—even though the “inner layer” was admissible).




learned about Mr. Laing’s alleged statements from his wife or from Ms. Hager is irrelevant: Ms.
Hager’s statement is inadmissible hearsay either way.


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       The same outcome is appropriate here.

                                                                      constitutes an out-of-court

statement offered for its truth—

                        —there is no exception to the hearsay rules that permits its use at trial.

Consequently, the entire hearsay-within-hearsay chain involving it—

                           (the “inner layer”)—is inadmissible. See Cummings, 858 F.3d at 773-

74 (excluding testimony “even though the first statement on its own could be admissible because

it was not hearsay . . . because the second statement is inadmissible hearsay not subject to an

exception”).

       So, too, for Mr. Sitts’ testimony regarding the “Hager” incident, which involves even more

layers of inadmissible hearsay within hearsay. Ms. Hager’s alleged statement to Mrs. Sitts (about

Mr. Laing’s alleged comments) and Mrs. Sitts’ statements to her husband (about what she learned

from Ms. Hager) are each “outer layers” of an inadmissible hearsay chain. Each are offered,

respectively, to prove that Mr. Laing commented about Mr. Sitts’ future with Elmhurst to Ms.

Hager, and that, in turn, Ms. Hager relayed those comments to Mrs. Sitts. No hearsay exclusions

apply to this testimony, and the Court should exclude the entire hearsay chain under Rule 802 and

805.7 See United States v. Williams, 927 F.2d 95, 100 (2d Cir. 1991) (concluding that the “district



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        In any event, the “inner layer” of each hearsay chain—namely,
                               and John Laing’s statement to Linda Hager—independently violate
the hearsay rule. Neither Mr. Alger nor Mr. Laing—both of whom serve as DFA field
representatives—were acting within the “scope of [the] relationship” between DFA and a “field
man” when they allegedly threatened a farmer, and there is no exception to the hearsay rules that
renders either statement admissible. See Fed. R. Evid. 801(d)(2)(D); cf. Daughtry v. City of New
York, No. 12-CV-2655(NGG)(RER), 2015 WL 2454115, at *5 (E.D.N.Y. Feb. 23, 2015)
(excluding the statement of a city employee because “the mere fact that [the declarant] was
‘obviously an employee of the City of New York’ does not establish that he had ‘authority to take
action’” and rejecting plaintiff’s “expansive application of [Rule] 801(d)(2)(D)” because it would
“render the City vis-a-vis the New York City Police Department accountable for the statements of


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       A.      Mr. Swallow’s Testimony Constitutes Hearsay And Should Be Excluded

       Plaintiffs have indicated that they intend to introduce Mr. Swallow’s testimony regarding

a conversation he allegedly overheard at a truck stop in Milton, Pennsylvania in 2009—indeed,

they have included him on their preliminary witness list. Mr. Swallow testified that he stopped for

lunch one day and noticed two men and a woman—none of whom he knew—eating in the booth

behind him. According to Mr. Swallow, one of the men wore a shirt with a Land O’Lakes logo

on it and the other wore a shirt with a DMS logo on it.12 Although his back was to their table, Mr.

Swallow testified that he heard the man wearing a shirt with a DMS logo on it say that



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                         Based on this testimony, plaintiffs apparently intend to argue that DMS, in

fact, threatened or retaliated against farmers in the Northeast.

       The Court should not permit this. Because Mr. Swallow’s testimony relates to an out-of-

court statement by an unidentified declarant—and, because plaintiffs plainly intend to offer this

statement to prove its truth: namely, that the speaker

                                          his organization—it is inadmissible hearsay and cannot be

introduced at trial. Id.; Fed. R. Evid. 802.

       Indeed, courts, including in this Circuit, routinely exclude this type of hallway gossip. That

is particularly true where, like here, testimony involves statements by an unknown declarant and

where “evidence” offered to identify the declarant lacks basic “circumstantial guarantees of

trustworthiness.” See Cook v. Hoppin, 783 F.2d 684, 691 (7th Cir. 1986) (district court abused its

discretion in admitting hearsay statements where the court “could only speculate as to the identity


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       Ex. 4, W. Swallow Dep. 16:22-17:2, Allen v. Dairy Farmers of Am., Inc., No. 5:09-cv-
00230 (D. Vt. Jan. 19, 2011) (“Swallow Dep.”).
13
       Id. 18:19-19:4, 29:16-17.


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of the declarant” and was “not even in a position to begin to analyze whether the statements have

the requisite ‘circumstantial guarantees of trustworthiness’”); see also Awalt v. Marketti, No. 11

C 142, 2015 WL 4338048, at *12 (N.D. Ill. Jul 15, 2015) (excluding testimony because plaintiff

failed to “establish a sufficient evidentiary foundation for admission . . . including identifying the

speakers); JAV Auto Ctr., Inc. v. Behrens, No. 05 CIV. 6503(CS)(GAY), 2008 WL 9392107, at *4

(S.D.N.Y. Oct. 8, 2008) (hearsay statement was inadmissible where, although “[p]laintiffs

speculate that the declarant must have been Behrens, there are any number of Authority personnel

in Albany who could have made the observation”), aff’d, 360 F. App’x 176 (2d Cir. 2009); cf.

Bubar v. NorDx, No. 2:16-cv-00201-JHR, 2017 WL 1368045, at *1 (D. Me. Apr. 7, 2017)

(“‘Hallway gossip’—that is, ‘unattributed statements repeated by party-opponents’—is not

admissible.” (citation and original alteration omitted)).

       As in the above cases, Mr. Swallow admits that he did not know the speaker, his back was

to the conversation, and he presumably could not see who was speaking at any time. Thus, no

exception to the hearsay rules applies to any statement that Mr. Swallow allegedly overheard. And

to the extent Mr. Swallow speculated that the speaker worked for DMS, his conclusion—based

primarily on the fact that the declarant wore a shirt with a DMS logo on it—lacks any

circumstantial guarantee of trustworthiness that would enable this Court (or any jury) to rely upon

it as evidence that the unknown declarant was a DMS employee.14 The Court should thus exclude

at trial any attempt by Mr. Swallow to identify the people he saw.



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        Furthermore, Mr. Swallow’s attempt to name, in his testimony, any of the alleged
declarants at the truck stop crosses the line into inadmissible hearsay. After leaving the truck stop,
Mr. Swallow apparently later told another dairy producer named Andrew Fisher what he had heard.
Mr. Swallow testified that Mr. Fisher—who was not present for the actual conversation and who
has provided no sworn testimony in this case—took a guess as to the identity of the three people
at the diner and offered his view that the speaker Mr. Swallow heard worked for DMS. Ex. 4, W.
Swallow Dep. 25:9-26:4, 50:12-16 (admitting that the only “basis for identifying the individuals


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       B.      Mr. Swallow’s Testimony Is Inadmissible Because It Unduly Prejudices DFA

       Mr. Swallow’s testimony is also inadmissible for the independent reason that its prejudice

to DFA vastly outweighs its probative value. See Fed. R. Evid. 403. Plaintiffs have never tried to

explain how the unattributed gossip that Mr. Swallow purportedly overheard has anything to do

with whether each of the 116 plaintiffs in this case received less money on their milk checks than

they otherwise would have because of a conspiracy involving DFA. Indeed, there is no evidence

that the farmers the unknown declarant referred to were even in Order 1. Nor is there evidence

that anyone in 2009 actually threatened dairy farmers with health code violations or with hauling

contract terminations if they tried to leave any organization to which they belonged. Mr. Swallow

himself disclaimed any such thing happening.15 His testimony, therefore, has at best minimal

probative value for any of the individual plaintiffs’ claims for injury and damages in this case.

       It would, however, be deeply prejudicial to DFA. Allowing the jury to hear accusations

that DMS supposedly blackmailed farmers creates a severe risk that the jury will be unable to treat

DFA impartially in this case. Basic principles of fairness thus require exclusion under Rule 403.

                                         CONCLUSION

       For the reasons set forth above, DFA respectfully requests that the Court grant its motion

to exclude the above-described testimony of Mr. Sitts and Mr. Swallow at trial.




involved in the conversation at the Penn 80 truck stop” was the “conversation[] [he] had with Mr.
Fisher”). Plaintiffs now purportedly intend to offer Mr. Fisher’s statements—transmitted through
Mr. Swallow—as evidence of the truck-stop-speaker’s identity. They may not do so. Mr. Fisher’s
attempt to identify the people Mr. Swallow encountered itself constitutes inadmissible hearsay and
the Court should exclude it at trial, along with any related attempt by Mr. Swallow to identify the
people he saw.
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       Ex. 4, Swallow Dep. 30:4-13.


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Dated: May 20, 2020                   Respectfully submitted by:

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                     LOCAL RULE 7(A)(7) CERTIFICATION OF COUNSEL

       Pursuant to Local Rule 7(a)(7), the undersigned counsel for DFA certifies that DFA made

a good faith attempt to obtain plaintiffs’ agreement to the requested relief in this motion, but was

not able to do so.

Dated: May 20, 2020                                /s/ Alfred C. Pfeiffer Jr.
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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 20, 2020, I electronically filed with the Clerk of Court the
foregoing document using the CM/ECF system and served the below parties via email. The
CM/ECF system will provide service of such filing via Notice of Electronic Filing (NEF) to the
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